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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,           ) Case No.: 1:08-CR-00213-AWI
                                         )
11             Plaintiff,                )
                                         )
12       vs.                             ) STIPULATION AND ORDER TO
                                         ) CONTINUE SENTENCING
13                                       )
                                         )
14                                       ) Date: January 14, 2013
     LUIS ANTONIO ARENAS ZAMORA,         ) Time: 10:00 a.m.
15                                       ) Hon. Anthony W. Ishii
               Defendant.                )
16

17       Plaintiff United States of America, by and through its
18   counsel of record, and defendant, by and through his counsel
19   of record, hereby stipulate as follows:
20       1. By previous order, this matter was set for sentencing
21   on January 14, 2013, at 10:00 a.m.
22       2. By this stipulation, defendant now moves to continue
23   the sentencing until April 8, 2013, at 10:00 a.m. and to
24   exclude time between January 14, 2013, and April 8, 2013,
25   under 18 U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not
26   oppose this request.
27

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                 Stipulation and [Proposed] Order to Continue Sentencing
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 1         3. The parties agree and stipulate, and request that the
 2   Court find the following:
 3               a. The government has represented that the discovery
 4         associated with this case has been either produced
 5         directly to counsel and/or made available for inspection
 6         and copying.
 7               b. The government does not object to the continuance.
 8               c. Based on the above-stated findings, the ends of
 9         justice served by continuing the case as requested
10         outweigh the interest of the public and the defendant in a
11         trial within the original date prescribed by the Speedy
12         Trial Act.
13               d. For the purpose of computing time under the Speedy
14         Trial Act, 18 U.S.C. § 3161, et seq., within which trial
15         must commence, the time period of January 14, 2013, to
16         April 8, 2013, inclusive, is deemed excludable pursuant to
17         18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a
18         continuance granted by the Court at defendant’s request on
19         the basis of the Court's finding that the ends of justice
20         served by taking such action outweigh the best interest of
21         the public and the defendant in a speedy trial.
22         4. Nothing in this stipulation and order shall preclude a
23   finding that other provisions of the Speedy Trial Act dictate
24   that additional time periods are excludable from the period
25   within which a trial must commence.
26   ///
27   ///
28
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                           Case 1:08-cr-00213-AWI Document 130 Filed 01/11/13 Page 3 of 3


 1   IT IS SO STIPULATED.
 2
     Dated: January 10, 2013
 3
                                                               /s/ Kathleen A. Servatius__
 4
                                                               Assistant United States
 5
                                                               Attorney

 6
     Dated: January 10, 2013
 7
                                                               /s/ Anthony P. Capozzi
 8
                                                               Anthony P. Capozzi
 9
                                                               Attorney for
                                                               LUIS ANTONIO ARENAS ZAMORA
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13
                                                          ORDER
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     IT IS SO ORDERED.
17
     Dated: January 11, 2013
18                                                    UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                   Stipulation and [Proposed] Order to Continue Sentencing
                                                CASE NO.: 1:08-CR-00213-AWI
